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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Sdahrie Howard, et al.
                                          Plaintiff,
v.                                                       Case No.: 1:17−cv−08146
                                                         Honorable Matthew F. Kennelly
Cook County Sheriff's Office, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 8, 2022:


         MINUTE entry before the Honorable Matthew F. Kennelly: Telephonic status
hearing held on 6/8/2022. The parties reported that they have reached a settlement in
principle. The jury trial dates of 6/14/2022 and 7/1/2022 are vacated. The pretrial
conference set for 6/10/2022 is vacated. The correctional officer bellwether case is set for
a jury trial on 8/15/2022 at 9:00 a.m. A telephonic status hearing is set for 6/29/2022 at
8:30 a.m. The following call−in number will be used: 888−684−8852, access code
746−1053. Persons granted remote access to proceedings are reminded of the general
prohibition against photographing, recording, and rebroadcasting of court proceedings.
Violation of these prohibitions may result in sanctions, including removal of court issued
media credentials, restricted entry to future hearings, denial of entry to future hearings, or
any other sanctions deemed necessary by the Court. Mailed notice. (mma, )




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